Case 3:22-cv-02422-RJD                Document 75           Filed 04/30/25          Page 1 of 2          Page ID #449




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF ILLINOIS

 PIERRE JORDAN,                                         )
                                                        )
                   Plaintiff,                           )
                                                        )
 vs.                                                    )         Case No. 3:22-cv-2422-RJD
                                                        )
 JOHN MCCALEB, et al.,                                  )
                                                        )
                                                        )
                   Defendants.                          )

                                                  90-DAY ORDER
 DALY, Magistrate Judge:1

          The parties have informed the Court that they have settled this case, but they need

 additional time to finalize the settlement documents. Defense counsel is DIRECTED to forward

 a proposed Settlement Agreement to Plaintiff within 30 days from the date of this Order. Defense

 counsel is further directed to file a status report within 60 days from the date of this Order, advising

 the Court whether the Settlement Agreement has been fully executed and submitted to the CMS

 for payment. Once the Settlement Agreement has been fully executed and submitted to the CMS

 for payment, this case will be dismissed with prejudice (unless Plaintiff or Defendant files a motion

 requesting otherwise).

          No later than 90 days from the date of this Order, the Clerk of Court is directed to enter

 judgment dismissing this action with prejudice and without costs. The parties are advised that the

 90-day period to finalize settlement will not be extended absent exceptional circumstances (and

 only upon motion by a party). Due to the settlement, the Court VACATES all deadlines and

 settings. All pending motions are DENIED as moot.


 1
   This case has been assigned to the undersigned to conduct all proceedings, including trial and entry of final judgment,
 through the parties’ full consent in accordance with the provisions of Title 28 U.S.C. Section 636(c) and Federal Rule
 of Civil Procedure 73. (Doc. 37)

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Case 3:22-cv-02422-RJD   Document 75   Filed 04/30/25   Page 2 of 2    Page ID #450




       IT IS SO ORDERED.

       DATED: April 30, 2025



                                           s/ Reona J. Daly
                                           Hon. Reona J. Daly
                                           United States Magistrate Judge




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